                                    Case 23-14109-RAM                  Doc 47                Filed 10/11/23   Page 1 of 4
                                     UNITED STATES BANKRUPTCY COURT, SOUTHERN DISTRICT OF FLORIDA

                                                                         www.flsb.uscourts.gov
                                                      CHAPTER 13 PLAN flndividual Adjustment of Debts^

                              □                                          Original Plan

                              0 Third                                    Amended Plan (Indicate 1st, 2nd, etc. Amended, if applicable)

                              □                                          Modified Plan (Indicate 1st, 2nd, etc. Modified, if applicable)

    DEBTOR: Victor Hugo Trochez                               JOINT DEBTOR:                                        CASE NO.: 23-14109-RAM

    SS#: xxx-xx- 8514                                            SS#: xxx-xx-

    I.           NOTICES

                 To Debtors:         Plans that do not comply with local rules and judicial rulings may not be confirmable. All plans, amended plans and
                                     modified plans shall be served upon all creditors and a certificate of service filed with the Clerk pursuant to Local
                                     Rules 2002-1 (C)(5), 3015-1(B)(2), and 3015-2. Debtor(s) must commence plan payments within 30 days of filing
                                     the chapter 13 petition or within 30 days of entry of the order converting the case to chapter 13.
                 To Creditors:        Your rights may be affected by this plan. You must file a timely proof of claim in order to be paid. Your claim may
                                      be reduced, modified or eliminated.
                 To All Parties:     The plan contains no nonstandard provisions other than those set out in paragraph IX. Debtor(s) must check one box
                                      on each line listed below in this section to state whether the plan includes any of the following:

         The valuation of a secured claim, set out in Section III, which may result in a                           rn    Included          [11   Not included
         partial payment or no payment at all to the secured creditor
         Avoidance of a judicial lien or nonpossessory, nonpurchase-money security interest, set                   r~|   Included          [H    Not included
         out in Section III
         Nonstandard provisions, set out in Section IX                                                             [H    Included          I I   Not included
    II.         PLAN PAYMENTS. LENGTH OF PLAN AND DEBTORfSV ATTORNEY’S FEE

                A.       MONTHLY PLAN PAYMENT: This Plan pays for the benefit of the creditors the amounts listed below, including trustee's
                        fees of 10%, beginning 30 days from the filing/conversion date. In the event the trustee does not retain the full 10%, any unused
                        amount will be paid to unsecured nonpriority creditors pro-rata under the plan:


                        1.    $771.02               for months   1     to 45      ;

                        2.    $1.474.59             for months   46    to 60      ;

                B.      DEBTORfSV ATTORNEY'S FEE:                                            □ NONE    □ PRO BONO
             Total Fees:                $7,250.00          Total Paid:                $4,187.00         Balance Due:         $3,063.00

             Payable _             $67.72           /month (Months        to _4^ )
             Payable _             $15.60           /month (Months 46 to _4^ )
             Allowed fees under LR 2016-1(B)(2) are itemized below:
             MMM Safe Harbor $2,500.00 MMM+$ 100.00 MMM Cost + $4,500.00 Attorney's Fees + 150.00 Costs = $7,250.00

              Applications for compensation must be filed for all fees over and above the Court's Guidelines for Compensation.
    III.        TREATMENT OF SECURED CLAIMS                           □ NONE
                A. SECURED CLAIMS;                  □ NONE
                 [Retain Liens pursuant to 11 U.S.C. §1325 (a)(5)] Mortgage(s)/Li en on Real or Personal Property:
              1. Creditor: Wilmington Savings Fund Society, FSB
                  Address: 500 Delaware Avenue                   Arrearage/ Payoff on Petition Date
                              Wilmington, DE 19801               MMM Adequate Protection                       $626.20      /month (Months       1   to 60 )

              Last 4 Digits of
              Account No.:                  1145

              Other:



LF-31 (rev. 04/01/22)                                                          Page 1 of 4
                                      Case 23-14109-RAM                Doc 47            Filed 10/11/23     Page 2 of 4

                                                                        Debtor(s): Victor Hugo Trochez                   Case number: 23-14109-RAM



        @ Real Property                                                           Check one below for Real Property:
                [■jPrincipal Residence                                            @ Escrow is included in the regular payments
                □other Real Property                                              □The debtor(s) will pay     Qtaxes    □ insurance directly
        Address of Collateral:
         11531 NW 76 Street, Miami, FL 33178


        □ Personal PropertyA^ehicle
        Description of Collateral:
            B. VALUATION OF COLLATERAL;                       [1 NONE
            C. LIEN AVOIDANCE g] NONE
            D. SURRENDER OF COLLATERAL;                          g] NONE
            E. DIRECT PAYMENTS                   □ NONE
            Secured claims filed by any creditor granted stay relief in this section shall not receive a distribution from the Chapter 13 Trustee.
                The debtor(s) elect to make payments directly to each secured creditor listed below. The debtor(s) request that upon
                confirmation of this plan the automatic stay be terminated in rem as to the debtor(s) and in rem and in personam as to any
                codebtor(s) as to these creditors. Nothing herein is intended to terminate or abrogate the debtor(s)' state law contract rights.
                             Name of Creditor             Last 4 Digits of Account No. Description of Collateral (Address. Vehicle, etc.l
                             U.S. Bank Trust National     4915                              2016 Toyota Corolla
                        1.   Association

IV.         TREATMENT OF FEES AND PRIORITY CLAIMS fas defined in 11 U.S.C. §507 and 11 U.S.C. § 1322(a)(4)]                            g) NONE
V.          TREATMENT OF UNSECURED NONPRIORITY CREDITORS                                       □ NONE
               A. Pay               $0.00       /month (Months     1    to 45 )

                    Pay            $685.30      /month (Months 46       to 46 )
                    Pay            $700.93      /month (Months 47       to 60 )
                    Pro rata dividend will be calculatedby the Trustee upon review of filed claims after bar date.
               B. □ If checked, the Debtor(s) will amend/modify to pay 100% to all allowed unsecured nonpriority claims.
               C. SEPARATELY CLASSIFIED:                   g] NONE
VI.         STUDENT LOAN PROGRAM                        g] NONE
VII.        EXECUTORY CONTRACTS AND UNEXPIRED LEASES                                     g] NONE
VIII.       INCOME TAX RETURNS AND REFUNJ^r

                   g] Debtor(s) will not provide tax returns unless requested by any interested party pursuant to 11 U.S.C. § 521.
IX.        NON-STANDARD PLAN PROVISIONS □ NONE
           g| Nonstandard provisions must be set forth below. A nonstandard provision is a provision not otherwise included in the Local
               Form or deviating from it. Nonstandard provisions set out elsewhere in this plan are void.
              Confirmation of the plan shall not bar Debtor's counsel from filing an Application for Compensation for any work performed
              before confirmation
           g] Mortgage Modification Mediation




LF-31 (rev. 04/01/22)                                                      Page 2 of 4
                                  Case 23-14109-RAM                 Doc 47             Filed 10/11/23      Page 3 of 4

                                                                       Dcblor(s): Victor Hugo Trochez                      Case number: 23-14109-RAM


                   1    The debtor has filed a Verified Motion for Referral to MMM with:

                   Wilmington Savings Fund Society, FSB                                                                                ("Lender")
                   loan number 0771539114-5

                   for real property located at 11531 NW 76 Street, Miami, FL 33178

                   The parties shall timely comply with all requirements of the Order of Referral to MMM and all Administrative Orders/Local
                   Rules regarding MMM. While the MMM is pending and until the trial/interim payment plan or the permanent mortgage
                   modification/permanent payment is established by the parties, absent Court order to the contrary, the debtor has included a post
                   petition monthly plan payment (a) with respect to the debtor’s homestead, of no less than the lower of the prepetition monthly
                   contractual mortgage payment or 31 % of the debtor’s gross monthly income (after deducting any amount paid toward HOA fees
                   due for the property) and (b) with respect to income producing property, of no less than 75% of the gross income generated by
                   such property, as a good faith adequate protection payment to the lender. All payments shall be considered timely upon receipt
                   by the trustee and not upon receipt by the lender.

                   Until the MMM is completed and the Final Report of Mortgage Modification Mediator is filed, any objection to the lender’s
                   proof of claim on the real property described above shall be held in abeyance as to the regular payment and mortgage arrearage
                   stated in the proof of claim only. The debtor shall assert any and all other objections to the proof of claim prior to confirmation
                   of the plan or modified plan.

                   If the debtor, co-obligor/co-borrower or other third parly (if applicable) and the lender agree to a settlement as a result of the
                   pending MMM, the debtor will file the MMM Local Form “Ex Parte Motion to Approve Mortgage Modification Agreement
                   with Lender” (or Self-Represented Debtor’s Motion to Approve Mortgage Modification Agreement with Lender) no later than
                   14 calendar days following settlement. Once the settlement is approved by the Court, the debtor shall immediately amend or
                   m odify the plan to reflect the settlement and the lender shall amend its Proof of Claim to reflect the settlement, as applicable.




                   If a settlement is reached after the plan is confirmed, the debtor will file a motion to modify the plan no later than 30 calendar
                   days following approval of the settlement by the Court and the Lender shall have leave to amend its Proof of Claim to reflect
                   the settlement reached after confirmation of the plan. The parties will then timely comply with any and all requirements
                   necessary to completethe settlement.

                   In the event the debtor receives any financial benefit from the lender as part of any agreement, the debtor shall immediately
                   disclose the financial benefit to the Court and the trustee and amend or modify the plan accordingly.


                   If the lender and the debtor fail to reach a settlement, then no later than 14 calendar days after the mediator’s Final Report is
                   filed, the debtor will amend or modify the plan to (a) conform to the lender’s Proof of Claim (if the lender has filed a Proof of
                   Claim), without limiting the Debtor’s right to object to the claim or proceed with a motion to value; or (b) provide that the real
                   propeity will be “treated outside the plan.” If the properly is “treated outside the plan,” the lender will be entitled to in rem stay
                   relief to pursue available state court remedies against the properly. Notwithstanding the foregoing, lender may file a motion to
                   confirm that the automatic stay is not in effect as to the real property.

                   Confirmation of the plan will be without prejudice to the assertion of any rights the lender has to address payment of its Proof
                   of Claim.




LF-31 (rev. 04/01/22)                                                     Page 3 of4
                                     Case 23-14109-RAM           Doc 47            Filed 10/11/23   Page 4 of 4

                                                                  Debtor(s): Victor Hugo Trochez                 Case number: 23-14109-RAM



                        PROPERTY OF THE ESTATE WILL VEST IN THE DEBTOR(S) UPON PLAN CONFIRMATION.

  I declare that the foregoing chapter 13 plan is true and correct under penalty of perjury.


                                          Debtor   /^7-//-Z3                                             Joint Debtor

                                                          Date                                                                  Date
 Vict<                  rochez




                                                        Date
   Attorney with permission to sign on
    Debtor(s)' behalf who certifies that
    the contents of the plan have been
         reviewed and approved by the
                                 1
                    Debtor(s).

  By filing this document, the Attorney for Debtor(s) or Debtor(s), if not represented by counsel, certifies that the wording and
  order of the provisions in this Chapter 13 plan are identical to those contained in Local Form Chapter 13 Plan and the plan
  contains no nonstandard provisions other than those set out in paragraph IX.




^This certification requirement applies even if the Debtor(s) have executed a limited power of attorney to Debtor(s)' attorney authorizing the
attorney to sign documents on the Debtor(s)' behalf.




LF-31 (rev. 04/01/22)                                                Page 4 of 4
